Case: 1:95-cv-00087-TSB Doc #: 1951 Filed: 11/10/21 Page: 1 of 1 PAGEID #: 2940




                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION


 IN RE TELECTRONICS PACING                     :      Master Case No. MDL-1057
 SYSTEMS, INC., ACCUFIX ATRIAL                 :
  “J” LEADS PRODUCTS LIABILITY                 :      (Black, J.)
 LITIGATION                                    :
                                               :
                                               :
                                               :      (This document relates to all actions)



       ORDER GRANTING SPECIAL MASTER’S MOTION TO UPGRADE
       SETTLEMENT FUND INFORMATION MANAGEMENT SYSTEMS


         Upon Application of the Special Master, with the approval and consent of counsel
 for the Plaintiffs, it is hereby Ordered that the Special Master shall have the authority to
 upgrade the Settlement Fund’s Information Management systems, as outlined in the
 Motion, as follows:

    1. Scan and retain electronic files of certain specified documents relating to the
       Telectronics/Accufix Settlement Fund, and then destroy those physical
       documents;
    2. Destroy certain other specified physical Fund documents without scanning;
    3. Upgrade the Fund’s computer, database and backup system to meet modern
       standards; and
    4. Utilize the Fund to pay for the above, in accordance with the Estimate of cost of
       sale attached as Exhibit A, and the Special Master’s ordinary fee.
 The payment shall be taken from the Patient Benefit Fund.



 SO ORDERED



                                                         s/Timothy S. Black
                                                      ______________________________
                                                      Honorable Timothy S. Black
